      Case: 4:07-cr-00603-JG Doc #: 250 Filed: 12/22/15 1 of 2. PageID #: 1442




                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                    )              CASE NO. 4:07CR00603-006
                                             )
       Plaintiff,                            )              JUDGE: JAMES S. GWIN
                                             )
vs.                                          )              ORDER
                                             )
BRIAN GATEWOOD,                              )
                                             )
       Defendant.                            )



       This matter was heard on December 22, 2015, upon the request of the United States

Pretrial and Probation Office for a finding that defendant violated the conditions of supervised

release [Doc. 244]. The defendant was present and represented by Attorney Jacqueline A.

Johnson.

       The violation report was referred to Magistrate Judge Nancy A. Vecchiarelli who issued

a Report and Recommendation on October 29, 2015 [Doc. 246]. No objections having been filed

the Court adopted the Magistrate Judge's Report and Recommendation and found that the

following terms of supervision had been violated:

               1) illicit drug use;

               2) noncompliance with treatment.

       The Court found the violations to be Grade C and that defendant was a Criminal History

Category V. The Court proceeded to entertain a recommendation for sentencing from counsel

for the parties and the supervising officer. Upon consideration of the recommendations, the
     Case: 4:07-cr-00603-JG Doc #: 250 Filed: 12/22/15 2 of 2. PageID #: 1443




Court ordered the defendant's supervised release continued as originally imposed with the

additional conditions that the defendant obtain and/or maintain employment and that the

defendant continues to receive psychological treatment as directed by the probation officer.



       IT IS SO ORDERED.




Dated: December 22, 2015                            s/ James S. Gwin
                                                    JAMES S. GWIN
                                                    UNITED STATES DISTRICT JUDGE
